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     Attorney for Defendant
 5   JOSE NORIEGA VALENCIA
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 9                            UNITED STATES DISTRICT COURT
10                           EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                )       Case No. 06-CR-00376 DLJ
                                              )
13         Plaintiff,                         )       MOTION FOR CONTINUANCE
                                              )       OF SENTENCING; STIPULATION
14                vs.                         )       AND ORDER
                                              )
15   JOSE NORIEGA VALENICA,                   )
                                              )
16         Defendant.                         )
     _______________________________          )
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19         IT IS HEREBY STIPULATED by and between Assistant United States Attorney
20   Carolyn Delaney, counsel for plaintiff, and Attorney Erin J. Radekin, counsel for defendant
21   JOSE NORIEGA VALENICA, that the sentencing hearing, currently set for January 29,
22   2008 at 10:00 a.m., be vacated and continued to February 26, 2008 at 10:00 a.m. in the
23   courtroom of the Honorable D. Lowell Jensen.
24         This continuance is requested by the defense to allow defense counsel additional time
25   to confer with the defendant and prepare the defendant for sentencing with the assistance of a
26   Spanish interpreter. The Court is advised that Ms. Delaney concurs with the February 26,
27   2008 sentencing date and has authorized Ms. Radekin to sign this stipulation on her behalf.
28   The Court is further advised that United States Probation Officer Scott Storey also concurs
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 1   with the February 26, 2008 sentencing date and Spanish interpreter Yolanda Riley Portal has
 2   been notified that the January 29, 2008 date will be vacated and the matter continued to
 3   February 26, 2008.
 4
     Dated: January 28, 2008                            McGREGOR W. SCOTT
 5                                                      United States Attorney
 6                                                By:         /s/ CAROLYN DELANEY
                                                        CAROLYN DELANEY
 7                                                      Assistant U.S. Attorney
 8   Dated: January 28, 2008                                  /s/ ERIN J. RADEKIN
                                                        ERIN J. RADEKIN
 9                                                      Attorney for Defendant
                                                        JOSE NORIEGA VALENCIA
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                                               ORDER
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           IT IS HEREBY ORDERED that the sentencing hearing currently scheduled for
17
     January 29, 2008 at 10:00 a.m. is VACATED, and the matter continued until February 26,
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     2008 at 10:00 a.m. for sentencing.
19
     Dated: January 28, 2008
20                                                      /s/ D. Lowell Jensen
                                                        HON. D. LOWELL JENSEN
21                                                      United States District Judge
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